                Case 22-20897-GLT                      Doc 20         Filed 05/20/22 Entered 05/20/22 15:35:41          Desc Main
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                                              IN THE UNITED STATES BANKRUPTCY COURT
                                             FOR THE WESTERN DISTRICT OF PENNSYLVANIA


                  IN RE: John Bernard Stanchik III                                                     CHAPTER 13
                               Kristin Elaine Stanchik
                                              Debtor(s)                                            BKY. NO. 22-20897 GLT


                                         ENTRY OF APPEARANCE AND REQUEST FOR NOTICES

                    To the Clerk:

                           Kindly enter my appearance on behalf of PNC BANK, NATIONAL ASSOCIATION
                    and index same on the master mailing list.



                                                                  Respectfully submitted,


                                                                  /s/ ${s:1:y:_________________________}
                                                                      Brian Nicholas
                                                                      20 May 2022, 10:42:21, EDT

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